 Case 5:21-cr-00009-LGW-BWC Document 429 Filed 07/01/22 Page 1 of 5




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISION


 UNITED STATES OF AMERICA

        v.                                                CASE NO.: 5:21-cr-9

 MARIA LETICIA PATRICIO,
 DANIEL MENDOZA,
 NERY RENE CARRILLO-NAJARRO,
 ANTONIO CHAVEZ RAMOS,
 JC LONGORIA CASTRO,
 ENRIQUE DUQUE TOVAR,
 CHARLES MICHAEL KING,
 STANLEY NEAL MCGAULEY,
 LUIS ALBERTO MARTINEZ,
 DELIA IBARRA ROJAS,
 JUANA IBARRA CARRILLO,
 DONNA MICHELLE ROJAS,
 MARGARITA ROJAS CARDENA,
 JUAN FRANCISCO ALVAREZ CAMPOS,
 ROSALVA GARCIA MARTINEZ,
 ESTHER IBARRA GARCIA,
 BRETT DONAVAN BUSSEY,
 LINDA JEAN FACUNDO,
 GUMARA CANELA,
 DANIEL MERARI CANELA DIAZ,
 CARLA YVONNE SALINAS,

               Defendants.


                                          ORDER

       This order concerns the United States’ Unopposed Motion for Additional Time to File

Pretrial Motions. Doc. 424. For the reasons set forth below, the Government’s Motion is

GRANTED.

       The first Defendants in this action appeared for their initial appearances and arraignments

in November of 2021. At that those hearings, the Government represented that the discovery
 Case 5:21-cr-00009-LGW-BWC Document 429 Filed 07/01/22 Page 2 of 5




materials in this case are voluminous and would require significant time for Defendants’ counsel

to review and consider the materials, and, therefore, to submit any pretrial motions. As a result,

Defendants’ counsel requested an extension to standard 10-day schedule provided for in the

Court’s Local Rules. Counsel for the Government did not oppose the request and the Court

ordered that all pretrial motions be filed on or before May 17, 2022 (i.e., within 180 days of the

arraignments of those first-appearing Defendants). Doc. 152. Because other Defendants

appeared later in the case, the Court modified the initial schedule as to all Defendants, extending

the deadline for the submission of pretrial motions to July 5, 2022—which is 229 days from the

date the first Defendants in this case appeared. Doc. 270. July 5, 2022 is the current pretrial

motions deadline.

       In the instant Motion, the Government asks the Court to extend the pretrial motions

deadline by another 120 days (from July 5, 2022 to November 2, 2022). Doc. 424. The

Government states this extension is necessary for defense counsel to have adequate time to

receive and review discovery materials and to file any pretrial motions. The Government

explains that it produced the first round of discovery materials to Defendants on April 8, 2022,

and that the materials produced were exceptionally voluminous. The Government also states it

intends to produce copies of more than 100 boxes of documents and images of more than 150

devices, all of which were seized in November 2021. The Government states it is possible that

even more time—beyond the 120 days requested—may be needed in the future. The

Government represents it has conferred with all defense counsel and there is no opposition to the

requested extension.

       The Government’s request is extraordinary. The Government’s proposed schedule would

provide 349 days from the date the first Defendants appeared in this action to the deadline for the
 Case 5:21-cr-00009-LGW-BWC Document 429 Filed 07/01/22 Page 3 of 5




submission of the pretrial motions. Resolution of those motions will inevitably take significant

time after the filing deadline. The Government represents that the lengthy proposed schedule is

necessary because of the volume of discovery. That is certainly true, but it is not the only

reason. The Government’s Motion makes it clear that the production of discovery materials has

been slow and protracted. By the Government’s representations, the first round of discovery was

not produced for more than six months after the grand jury returned the indictment, and long

after the first Defendants appeared before the Court. The Government represents an additional

round of production is forthcoming, although it fails to say when that production will occur.

Instead, the Government explains the additional production derives from seizures conducted

nearly eight months ago, and that the volume is enormous. The need for an extended schedule

arises not just from the volume of discovery, but also from the slow production of those

materials.

       All that said, I will GRANT the Government’s request for an extension. The extension is

needed to allow Defendants adequate time to review and consider the already produced

discovery materials and the forthcoming materials, and to prepare and submit pretrial motions. I

have carefully considered the request and find that the Government has shown good cause for the

extension. While the Government suggests more extensions may be necessary in the future, the

Government should take steps avoid the need for any similar requests in the future. The

Government should work expeditiously to produce all additional discovery materials. The Court

issues the following amended schedule:

       Pretrial Motions. All pretrial motions shall be filed on or before November 2, 2022.

The opposing party shall file its response to pretrial motions on or before December 2, 2022.

The Court finds, as a matter of fact and law, the time Defendants requested to prepare and file
 Case 5:21-cr-00009-LGW-BWC Document 429 Filed 07/01/22 Page 4 of 5




pretrial motions is not for the purpose of delay, but in the furtherance of justice, and to protect

the Defendants’ right to a fair trial. The Court also finds the request is for the purpose of

allowing reasonable time necessary, assuming the exercise of due diligence, for the effective

preparation of defense counsel in that counselor needs additional time to prepare the appropriate

defense motions in this case. Therefore, pursuant to 18 U.S.C. § 3161(h)(7), and on the basis of

the Court’s finding that the ends of justice served by granting the request outweigh the best

interest of the public and Defendants in a speedy trial, the Court grants this time for filing pretrial

motions. This period of time—July 1, 2022 through and including December 2, 2022—is

excluded in computing the time within which the trial of this matter may commence.

       Untimely motions will not be considered absent a showing of good cause for failure to

file within the time set by the Court. Parties must file separate motions for each form of relief

sought; consolidated motions are not permitted. However, where a party has filed multiple

motions, the responding party may file a consolidated response to multiple motions where doing

so would not create confusion or ambiguity. The Government may elect to file a single

consolidated response to all of Defendants’ pending motions, but must file that consolidated

response on or before December 2, 2022.

       Joint Status Report. The Court ORDERS the parties to file a joint status report on or

before December 16, 2022. For the convenience of the parties, the Court has attached to this

Order two sample formats for the joint status report. In the joint status report, the parties must

either state that all pretrial motions have been resolved or identify the motions that require a

Court ruling. All motions requiring a ruling by the Court must be identified by title and docket

number. For any such motions, the parties must state (a) whether the motion is opposed; (b)
 Case 5:21-cr-00009-LGW-BWC Document 429 Filed 07/01/22 Page 5 of 5




whether any party requests oral argument on the motion; and (c) whether any party requests an

evidentiary hearing on the motion.

       Motions Hearing. The Motions Hearing previously scheduled for August 25, 2022 is

rescheduled for Wednesday, January 11, 2023 at 10:00 a.m., Waycross Federal Courthouse, 3rd

Floor Courtroom, Waycross, Georgia. The Court will conduct a hearing on all pending motions

listed in the joint status report. Unless ordered otherwise, Defendants, their counsel, and counsel

for the Government shall attend the hearing.

       Additionally, in accordance with Federal Rule of Criminal Procedure 5(f)(1), the Court

confirms the prosecutor’s disclosure obligations under Brady v. Maryland, 373 U.S. 83 (1963)

and its progeny. Failure to timely perform these obligations may result in various consequences,

including, but not limited to, exclusion of evidence, adverse jury instructions, dismissal of

charges, contempt proceedings, or sanctions.

       SO ORDERED, this 1st day of July, 2022.




                                      BENJAMIN W. CHEESBRO
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
